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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

MICHAEL DAILEY and ROBBIN DAILEY,                         )
                                                          )
                  Plaintiffs,                             )
                                                          )
vs.                                                       )
                                                          )   Case No. 4:22-cv-00116-CDP
BRIDGETON LANDFILL, LLC, et al.,                          )
                                                          )
                  Defendants.                             )
                                                          )


                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                      AS TO DEFENDANTS’ CROSS CLAIMS ONLY

       COMES NOW, Defendants Republic Services, Inc., Allied Services, LLC and

Defendant/Third Party Plaintiff Bridgeton Landfill, LLC (for itself and as successor of Rock

Road Industries, Inc.1) (collectively “Bridgeton Defendants”) and Defendant Cotter Corporation

(N.S.L.) (“Cotter”), by and through their attorneys of record, and file their stipulation of

dismissal of their cross claims against each other with prejudice. Bridgeton Defendants stipulate

to the dismissal of their cross claim against Cotter with prejudice, and Cotter stipulates to the

dismissal of its cross claim against Bridgeton Defendants with prejudice. Third Party Plaintiff

Bridgeton Landfill, LLC maintains its claims against Third-Party Defendants United States

Fidelity and Guaranty Company and St. Paul Fire and Marine Insurance Company. Bridgeton

Defendants agree to disclose to Cotter the existence and amount(s) of any settlement

agreement(s) and/or release(s) entered into or made between Bridgeton Defendants and Plaintiffs

(individually or jointly) pertaining to the claims, allegations, and damages in the pleadings or

otherwise at issue in this lawsuit. Cotter agrees to maintain the confidentiality of any information



       1
           Rock Road Industries, Inc. merged into Bridgeton Landfill, LLC, effective April 9, 2018.
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or documents disclosed under the Stipulated Protective Order of March 29, 2021. Each party to

pay their own costs.

       IT IS SO STIPULATED.

Dated: May 10, 2022                        Respectfully submitted,


                                             /s/ William G. Beck
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